Case 2:11-cr-20129-RHC-EAS ECF No. 335, PageID.1299 Filed 07/30/12 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,                  Case No.      11-CR-20129-6
                                                        11-CR-20066-2

vs.

PAUL ANTHONY DARRAH,

           Defendant.
_______________________________/


                       ORDER FOR DETENTION PENDING TRIAL

       A hearing was held on July 23, 2012 on the Government’s Appeal of a Bond set

by Magistrate Judge Whelan as to defendant Paul Darrah. For the reasons stated on

the record, to reasonably assure Mr. Darrah’s appearance, the safety of others and the

community, the request for bond is DENIED. Therefore,

       IT IS HEREBY ORDERED that the defendant is REMANDED to the custody of

the United States Marshal until further order of the court.



                                           S/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE

Dated: July 30, 2012
Case 2:11-cr-20129-RHC-EAS ECF No. 335, PageID.1300 Filed 07/30/12 Page 2 of 2




I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, July 30, 2012, by electronic and/or ordinary mail.


                                                S/Lisa Wagner
                                               Case Manager and Deputy Clerk
                                               (313) 234-5522




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